    USDC IN/ND case 2:18-cv-00376-TLS document 1 filed 10/04/18 page 1 of 4


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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF INDIANA
                                   HAMMOND DIVISION

CLAUDIA SOLIVAIS AND
ROBERT SOLIVAIS, INDIVIDUALLY and
AS HUSBAND AND WIFE
                                                   Case No.:
           Plaintiffs,
vs.                                                Indiana Case No.: 45D10-1808-CT-427
IMPEL UNION, INC., DELTA CARRIER
GROUP, INC. and FILIP RISTOVSKI,

           Defendants.

                                     NOTICE OF REMOVAL

           PLEASE TAKE NOTICE that the Defendants, Delta Carrier Group, Inc., Impel Union,

Inc. and Filip Ristovski, by counsel, Thomas S. Ehrhardt and Kopka Pinkus Dolin PC, and

pursuant to 28 U.S.C. §1446, hereby petition the Court for removal based on 28 U.S.C. §1332

and 1441. In support of this Notice of Removal, Defendants allege and state as follows:

                                            Introduction

           1. This civil action was originally filed in the Superior Court of Lake County, Indiana

              on August 6, 2018.

           2. Defendant Delta Carrier Group, Inc. was served with a copy of the Summons and

              Complaint on August 24, 2018.

           3. Defendant Impel Union, Inc. was served with a copy of the Summons and Complaint

              on August 24, 2018.

           4. Defendant Filip Ristovski was served with a copy of the Summons and Complaint on

              August 24, 2018.

           5. Plaintiffs filed their Motion for Leave to File Amended Complaint on September 19,

              2018.
USDC IN/ND case 2:18-cv-00376-TLS document 1 filed 10/04/18 page 2 of 4


  6. Plaintiffs filed their Second Motion for Leave to File Amended Complaint on October

      1, 2018.

  7. Defendants have not heretofore filed their Answer or other responsive pleading in the

      state court case as the deadline to do so has not yet expired. The entirety of all

      pleadings, process, orders and other filings as required by 28 U.S.C. §1446(b) are

      attached hereto as the following exhibits:

          a. Exhibit “A”: Plaintiffs’ Summons and Complaint.

          b. Exhibit “B”: Plaintiffs’ Motion for Leave to File Amended Complaint.

          c. Exhibit “C”: Plaintiffs’ Second Motion for Leave to File Amended Complaint.

  8. Defendants hereby timely file this Notice of Removal within the thirty (30) day time

      period required by 28 U.S.C. §1446(b)(1) as the Plaintiffs’ Second Motion for Leave

      to File Amended Complaint was filed on October 1, 2018.

  9. Plaintiffs’ cause is a civil action for personal injuries arising out of a motor vehicle

      accident with allegations of negligence on the part of Defendants for various

      negligent acts and omissions.

                                   Basis for Removal

  10. Removal is proper because the United States District Court has original jurisdiction

      through complete diversity of citizenship between the parties. See 28 U.S.C. §1332.

  11. Plaintiffs are citizens of the State of Indiana.

  12. Under the general diversity statute, a corporation is deemed to be a citizen of any

      state in which it has been incorporated and of the state in which it has its principal

      place of business. See 28 U.S.C. §1332(c)(1).

  13. Defendant Filip Ristovski is a citizen of the State of Illinois.



                                             2
   USDC IN/ND case 2:18-cv-00376-TLS document 1 filed 10/04/18 page 3 of 4


       14. Defendant Delta Carrier Group, Inc. is an Illinois corporation with its principal place

           of business in Illinois.

       15. Defendant Impel Union, Inc. is an Illinois corporation with its principal place of

           business in Illinois.

       16. Complete diversity of citizenship exists in this cause insofar as Plaintiffs are citizens

           of Indiana, while Defendants are all citizens of Illinois.

       17. Upon information and belief, the amount in controversy exceeds the sum or value of

           Seventy-Five Thousand Dollars ($75,000.00), exclusive of interest and costs, because

           through Defendants’ investigation the Plaintiffs are believed to be claiming extensive,

           serious, and permanent personal injuries arising out of the subject accident.

       18. Venue is proper in this District under 28 U.S.C. §1446(a) because this District

           embraces the place where the removed action was originally filed.

       19. Concurrently with the filing of this Notice of Removal, Defendants filed a Notice of

           Filing of Notice of Removal with the Clerk of the Lake Superior Court as required by

           28 U.S.C. §1446(d).

       20. Plaintiffs requested trial by jury in their original Complaint and Defendants hereby

           demand trial by jury of all issues raised by the pleadings herein.

       WHEREFORE the Defendants respectfully request removal of the state court case to the

Northern District of Indiana, Hammond Division, and for any and all just and equitable relief as

the Court deems appropriate.

                                                      Respectfully Submitted,


                                              By:    s/Thomas S. Ehrhardt
                                                     Thomas S. Ehrhardt (#18621-45)



                                                 3
   USDC IN/ND case 2:18-cv-00376-TLS document 1 filed 10/04/18 page 4 of 4


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                                CERTIFICATE OF SERVICE

         I certify that on the 4th day of October, 2018, a complete copy of this document was
served by depositing a copy in the U.S. Mail with sufficient postage attached to the following
parties:

       Timothy S. Schafer, II
       Schafer & Schafer, LLP
       3820 E. US 30
       Merrillville, IN 46410
                                           s/Thomas S. Ehrhardt
                                           Thomas S. Ehrhardt




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